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                     IN THE UNITED STATES DISTRICT COURT FOR
                         THE SOUTHERN DISTRICT OF TEXAS
                                 McALLEN DIVISION



UNITED STATES OF AMERICA                        *
                                                *                       CR. NO. M-22-721
v.                                              *
                                                *
MIGUEL ANGEL GARZA                              *


                  NOTICE OF INTENT TO ENTER A PLEA OF GUILTY


        Notice is hereby given to the Court and Counsel for the United States of the defendant's
intention to enter a plea guilty.



                                                                ______________________________
                                                                Counsel for Defendant


                                 CERTIFCATE OF SERVICE

        I certify that I notified counsel for the United States, Robert Guerra, of the defendant' s
intention to enter a plea of guilty. I certify that a true copy of this notice was served on counsel for
the United States.

                                                                /s/Rolando Cantu
